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                                                         JUDGE RICARDO S. MARTINEZ
 1

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 8
     Bellingham, WA 98225
 9   (360) 671-5945
10                              UNITED STATES DISTRICT COURT
11                             WESTERN DISTRICT OF WASHINGTON

12   ROBERT BOULE,
13
                           Plaintiff,                 NO. 2:17-CV-00106-RSM
14
     vs.                                              AMENDED COMPLAINT FOR
15
                                                      DAMAGES
16   ERIK EGBERT and JANE DOE
     EGBERT and their marital community,
17

18                         Defendants.

19

20
                Comes now Plaintiff Robert Boule, by and though his attorneys and

21   complains and alleges as follows:
22
           1.     Plaintiff Robert “Bob” Boule at all times material to this action resided in
23
                  Whatcom County, within the Western District of Washington.
24

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       2.    At all times material hereto, Defendant Erik Egbert was an agent and
 1

 2           employee of the United States, who, at the time of the events complained
 3           of herein, was acting within the course and scope of his employment by
 4
             the federal government and under the color of federal law.
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 6     3.    At all times material hereto, Defendants Erik Egbert and Jane Doe Egbert

 7           constituted a marital community under the laws of the State of
 8
             Washington. All acts alleged by Defendant Erik Egbert herein were
 9
             made on behalf of and for the benefit of the Egbert marital community
10

11           and thus the marital community is liable for those acts.

12     4.    All acts complained of occurred in the Western District of Washington
13
             State.
14
       5.    Venue is proper in the United States District Court for the Western
15

16           District of Washington.
17     6.    Jurisdiction is proper in the United States District Court pursuant to, but
18
             not limited to, Title 42, United States Code §§ 1983 & 1988; and, Title
19
             28 USC §1331 and §1367.
20

21     7.    This court has personal and subject matter jurisdiction.
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       8.    On March 20, 2014, Defendant Erik Egbert acting under color of law on
23
             behalf of the United States Customs and Border Protection (“Border
24

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              Patrol”) forcibly stopped, detained, or otherwise intercepted two of
 1

 2            Plaintiff’s vehicles within Plaintiff’s private property while Plaintiff and
 3            his employees were transporting the vehicles and a passenger on a private
 4
              driveway towards Plaintiff’s residence.
 5

 6     9.     Upon belief, previous to March 20, 2014, Defendant Egbert had been

 7            instructed by his superiors not to enter Plaintiff’s property without
 8
              specific permission except in an emergency.
 9
       10.    Defendant’s entry onto the property was made without explicit or implied
10

11            permission, without a warrant or probable cause and without articulable

12            reasonable suspicion of criminal activity, or other legal authority. Nor
13
              did Defendant articulate an emergency that would overcome the previous
14
              instruction by his superiors not to enter the property.
15

16     11.    Defendant’s temporary seizure of Plaintiff’s two vehicles was made
17            without a warrant or probable cause and without articulable reasonable
18
              suspicion of criminal activity, or other legal authority.
19
       12.    After Defendant pulled into Plaintiff’s driveway to stop, detain, or
20

21            otherwise intercept Plaintiff, his employees, his vehicles and/or his guest,
22
              Plaintiff explained to Defendant that he was transporting a guest who had
23

24

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              cleared United States Customs at John F. Kennedy International Airport
 1

 2            and further requested that Defendant contact his supervisor.
 3     13.    Defendant demanded that Plaintiff’s guest leave the vehicle and allow it
 4
              to be searched. Plaintiff refused the request.
 5

 6     14.    Defendant shoved Plaintiff into the side of the vehicle and onto the

 7            ground; Plaintiff rose to his feet and called 911 at which time Defendant
 8
              shoved Plaintiff onto the hood of the vehicle. Defendant’s actions caused
 9
              Plaintiff serious bodily injury. Plaintiff’s injuries included right shoulder
10

11            and back injuries that caused symptoms of left arm and left leg

12            numbness, back pain, left hip displacement, lack of mobility, pain and
13
              suffering, emotional distress and loss of enjoyment of life.
14
       15.    Defendant seized Plaintiff’s guest from the vehicle and examined the
15

16            guest’s passport before allowing Plaintiff and his guest to proceed to
17            Plaintiff’s residence, which also operated as a bed and breakfast.
18
       16.    Plaintiff complained to Defendant’s superiors at the Border Patrol and
19
              upon belief Defendant was investigated and disciplined for misconduct.
20

21            Subsequent to Plaintiff filing his complaint against Defendant, Plaintiff
22
              suffered retaliation, which upon belief was instigated by Defendant.
23

24

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       17.    Upon belief, the retaliation instigated by Defendant included but was not
 1

 2            limited to intimidation and slander to potential guests causing them to
 3            refrain from staying at the bed and breakfast, unsubstantiated complaints
 4
              to the Internal Revenue Service that Plaintiff had not properly accounted
 5

 6            for income received, intentionally parking marked enforcement vehicles

 7            near the bed and breakfast for no legitimate purpose in order to
 8
              discourage business, unjustified complaints to other regulatory agencies,
 9
              and detaining Mr. Boule’s employees for questioning without legal
10

11            justification.

12     18.    Defendant’s actions deprived Plaintiff of his federally protected rights
13
              under the Fourth, First and Fourteenth Amendments of the United States
14
              Constitution to be free from unlawful entry onto his property, unlawful
15

16            seizure of his person and property, excessive force, and retaliation for
17            free expression and petitioning his government for redress of grievances.
18
       19.    Defendant’s unconstitutional acts against Plaintiff were made under color
19
              of federal law related to Defendant’s service in the United States Border
20

21            Patrol.
22
       20.    Pursuant to Bivens v. Six Unknown Named Agents of Federal Bureau of
23
              Narcotics, 403 U.S. 388 (1971), Plaintiff is entitled to a monetary remedy
24

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              for the deprivation of his federal constitutional rights made under color of
 1

 2            federal law as set out in this complaint similar to damages under 42
 3            U.S.C. Section 1983 for deprivation of federal rights under color of state
 4
              law.
 5

 6     21.    Defendant’s actions in depriving Plaintiff of his federal civil rights set

 7            forth above were done intentionally, maliciously, wantonly, oppressively,
 8
              and/or with reckless indifference, subjecting the Defendant to liability for
 9
              punitive damages in an amount to be proven at trial.
10

11     22.    In the alternative, Defendant Egbert’s actions in injuring Plaintiff and

12            damaging his business interests were conducted negligently and
13
              unreasonably in breach of his duty of reasonable care owed to Plaintiff
14
              under state law.
15

16     23.    As a direct and proximate result of Defendants’ unreasonable and
17            unconstitutional conduct, Plaintiff sustained injuries and damages in an
18
              amount to be proven at trial.
19
       24.    As a direct and proximate result of the facts and illegal acts of Defendant
20

21            as alleged herein, Plaintiff sustained personal injuries described above in
22
              an amount to be proven at trial.
23

24

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        25.      As a direct and proximate result of the facts and illegal acts of Defendant
 1

 2               as alleged herein, Plaintiff has suffered and may in the future continue to
 3               suffer the loss of enjoyment of life, pain, mental anguish, mental injury
 4
                 and suffering and a loss of reputation in an amount to be proven at trial.
 5

 6      26.      As a direct and proximate result of the facts and illegal acts of Defendant

 7               as alleged herein, Plaintiff has suffered and may in the future continue to
 8
                 suffer the loss of income in an amount to be proven at trial.
 9
        27.      As a direct and proximate result of the facts and illegal acts of Defendant
10

11               as alleged herein, Plaintiff has incurred and may incur in the future

12               medical treatment costs in an amount to be proven at trial.
13
        28.      As a direct and proximate result of the facts and illegal acts of Defendant
14
                 as alleged herein, Plaintiff has incurred consequential damages in an
15

16               amount to be proven at trial, including but not limited to accounting
17               services to respond to the complaint to the Internal Revenue Service.
18
                                       PRAYER FOR RELIEF
19
              Plaintiff, Robert Boule, requests a judgment against Defendants, and each of
20

21   them, jointly and severally, as follows:
22
              A. General damages in an amount to be determine at trial.
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              B. Special damages in an amount to be determined at trial.
24

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         C. Punitive and exemplary damages in an amount deemed just and
 1

 2          reasonable as provided by law.
 3       D. Plaintiff’s reasonable attorney fees and costs, pursuant to 42 USC §1988
 4
            and/or 28 USC §2412(b), or as otherwise provided by law.
 5

 6       E. For such other and further relief as the court deems just and equitable.

 7       DATED this 6th day of September, 2017.
 8
                                   PAUKERT & TROPPMANN, PLLC
 9

10                                 s/ BREEAN L. BEGGS, WSBA #20795
11                                 BREEAN L. BEGGS, WSBA #20795

12

13
                                   CASCADIA CROSS-BORDER LAW

14
                                   s/ GREG BOOS, WSBA #8331
15
                                   GREG BOOS, WSBA #8331
16
                                   S/ W. SCOTT RAILTON, WSBA #28413
17                                 W. SCOTT RAILTON, WSBA #28413
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                            CERTIFICATE OF SERVICE:
 1

 2         I hereby certify that on the 6h day of September, 2017, I electronically filed
 3   and served a copy of this document using the CM/ECF filing system which will
 4
     send notification of such filing to the following:
 5

 6

 7         Breean Lawrence Beggs        bbeggs@pt-law.com, hhoffman@pt-law.com
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15

16

17         I declare under penalty of perjury under the laws of the United States of
18
     America that the foregoing is true and correct.
19
                                      s/Breean L. Beggs
20
                                      Breean L. Beggs, WSBA #20795
21

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